
2 N.Y.3d 731 (2004)
In the Matter of SONYA LATIMORE (Admitted as SONYA WHITTEN LATIMORE), a Suspended Attorney, Appellant.
DEPARTMENTAL DISCIPLINARY COMMITTEE FOR THE FIRST JUDICIAL DEPARTMENT, Respondent.
Court of Appeals of the State of New York.
Submitted November 10, 2003.
Decided March 25, 2004.
Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that denied appellant's reinstatement petition, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining part of the Appellate Division order sought to be appealed from does not finally determine the proceeding within the meaning of the Constitution.
